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 5   Attorneys for Defendant
     Twitter, Inc.
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 8                                UNITED STATES DISTRICT COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
10                                      SAN FRANCISCO DIVISION
11

12   GEERTE M. FRENKEN,                             Case No. 17-CV-02667-HSG

13                         Plaintiff,               TWITTER, INC.’S CORPORATE
                                                    DISCLOSURE STATEMENT AND
14          v.                                      CERTIFICATION OF INTERESTED
                                                    ENTITIES OR PERSONS UNDER FED. R.
15   The Executor, Fiduciary, Grantor,              CIV. P. 7.1 AND CIV. L.R. 3-15
     Guardian, Trustees and Beneficiaries of the
16   Estate of DAVID JOHN HUNTER;
     CHRISTOPHER PERRY HUNTER,
17   JODY DUFUR HUNTER, AMY
     HUNTER, as individuals and in their            Judge Haywood S. Gilliam, Jr.
18   capacities as Executor, Fiduciary, Grantor,    Courtroom: 2 - 4th Floor
     Guardian, Trustees and Beneficiaries of the
19   Estate of DAVID JOHN HUNTER;
     TWITTER, INC. and DOES 4 through 50
20   inclusive,

21                         Defendants.

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     Case No. 17-CV-02667-HSG                      -1-                 TWITTER, INC.’S CORPORATE
                                                                         DISCLOSURE STATEMENT
       Case 4:17-cv-02667-HSG Document 50 Filed 01/22/18 Page 2 of 2



 1          Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Defendant Twitter, Inc.

 2   (“Twitter”), by its undersigned counsel, states as follows:

 3          Twitter is a publicly held corporation. Twitter does not have any parent corporation. No

 4   publicly held corporation owns 10 percent or more of Twitter’s stock.

 5          Pursuant to Civil Local Rule 3-15, the undersigned certifies that as of this date, other than

 6   the named parties, there is no such interest to report.

 7   DATED: January 22, 2018                             PERKINS COIE LLP
 8
                                                         By: /s/ Julie E. Schwartz
 9                                                           Julie E. Schwartz
10
                                                         Attorneys for Defendant
11                                                       Twitter, Inc.
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     Case No. 17-CV-02667-HSG                          -2-                  TWITTER, INC.’S CORPORATE
                                                                              DISCLOSURE STATEMENT
